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                         IN THE UNITED STATES BANKRUPTCY COURT 
                             FOR THE SOUTHERN DISTRICT OF TEXAS 
                                            HOUSTON DIVISION 
                                                            
IN RE:                                                          
                                                               CASE NO. 15-33834 
DARYL SCOTT CLARK                                              CHAPTER 7 BANKRUPTCY 
                    DEBTOR 
      ---------------------------------------------------                      
                                                                               
DARYL SCOTT CLARK 
                    PLAINTIFF 
 
V.                                                             ADV. NO. 18-03278 
                                                                               
NATIONWIDE BANK 
                    DEFENDANT 
  
                                        C
                                        ​ ERTIFICATE OF SERVICE 
    OF COMPREHENSIVE SCHEDULING, PRETRIAL, AND TRIAL ORDER (DOC #3) 
                                                            
        I  certify  that  on  ​October  1,  2018  a  true  and  correct  copy  of  the 
 Comprehensive  Scheduling,  Pretrial,  and  Trial  Order  (Doc  #3)  was  served,  together 
 with the issued summons and complaint, on the named Defendant as follows: 
                                                              

Nationwide Bank                                      *MAIL:  Certified  Mail  Return  Receipt 
Defendant                                            Requested # ​92148901429880418669944
c/o Andrew D. Walker, President/Or Other Officer  
One Nationwide Plaza                                  
Columbus OH 43215                                     
                                                      
*Proof of delivery of this package is attached.       
 
                                                      
                                                      
DATED: October 5, 2018                         
 
                                              Respectfully submitted, 
 



                                                              
                                              _______________________________  
                                              CHARLES (CHUCK) NEWTON 
                                              Texas Bar No. 14976250 
                                              SDTX Bar No. 27900 
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                                 CHARLES NEWTON & ASSOCIATES 
                                 190 N. Millport Circle 
                                 The Woodlands TX 77382 
                                 Phone (281) 681-1170 
                                 Fax (281) 901-5631 
                                 Email chuck@chucknewton.net 
 
                                 ATTORNEY FOR PLAINTIFF, 
                                 Mr. Clark 
  
 




                                   2 
